      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 1 of 21




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


FONDA PRICE and                                )
KRISTIE WALKER,                                )
                                               )
             Plaintiffs,                       )
                                               ) Civil Action File No: __________
v.                                             )
                                               ) JURY TRIAL DEMANDED
ATLANTA PUBLIC                                 )
SCHOOLS,                                       )
                                               )
                                               )
             Defendant.                        )


                                   COMPLAINT

                           PRELIMINARY STATEMENT

      1.     Plaintiffs Fonda Price (“Price”) and Kristie Walker (“Walker”)

(collectively referred to as “Plaintiffs”), bring claims of unlawful retaliation against

their former employer, Defendant Atlanta Public Schools (“APS” or

“Defendant”), pursuant to Title VII of the Civil Rights Act of 1964 (“Title VII”),

42 U.S.C.A. § 2000e-3(a), and the Americans with Disabilities Act of 1990

(“ADA”), 42 U.S.C.A. § 12203(a).




                                                                                      1
       Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 2 of 21




       2.      Plaintiffs both seek damages for economic losses, including lost

wages and benefits, compensatory damages for emotional distress and mental

anguish, as well as their attorneys’ fees and litigation expenses.

                                       THE PARTIES

       3.      Plaintiff Price was employed by APS’ employee relations department

at all relevant times alleged in this complaint.

       4.      Plaintiff Walker was employed by APS’ employee relations

department at all relevant times alleged in this complaint.

       5.      APS is a public school district operating within the state of Georgia.

For purposes of adverse employment actions including termination, APS is an

entity subject to be sued under the ADA1 and Title VII.

               SUBJECT-MATTER JURISDICTION AND VENUE

       6.      Jurisdiction of this court is invoked pursuant to 28 U.S.C.A. §§ 1331

and 1343.

       7.      Venue is proper in this district and division under 28 U.S.C.A. §

1391(b)(1)-(2), as Defendant resides in and conducts business in this district and


1
 See Lightfoot v. Henry County School District, 771 F.3d 764, 768-78 (11th Cir. 2014) (for
purposes of sovereign immunity analysis, a school district is not an “arm of the state” of Georgia
with respect to employment decisions, and is therefore subject to monetary damages for liability
under the ADA).

                                                                                                 2
         Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 3 of 21




division and the acts or omissions giving rise to the claim occurred in the same

venue.

                           PERSONAL JURISDICTION

         8.    APS may be served with proper process concerning this civil action

through personal service of the Superintendent of APS or an agent authorized to

receive service at APS’ central administrative office at 130 Trinity Ave. SW,

Atlanta GA. 30303.

               EXHAUSTION OF ADMINISTRATIVE REMEDIES

         9.    On September 25, 2022, Price filed a charge with the Equal

Employment Opportunity Commission (“EEOC”) that included claims of gender

and disability based discrimination and retaliation. See Ex. A. On June 23, 2023,

Price received a Notice of Right to Sue, and timely files this cause of action. See

Ex. B.

         10.   On September 25, 2022, Walker filed a charge of gender and disability

discrimination with the EEOC. See Exhibit C. On June 6, 2023, Walker received a

Notice of Right to Sue, and timely files this cause of action. See Exhibit D.

                            FACTUAL ALLEGATIONS

Plaintiff’s first internal complaints of gender discrimination




                                                                                      3
         Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 4 of 21




         11.   Price was hired in July 2021 as a contractor in the employee relations

division of APS’ human resources (“HR”) department. In November 2021, Price

became a full time employee relations specialist for APS.

         12.   Price’s job responsibilities included conducting employee misconduct

investigations and processing disability accommodations requests for 30 schools

assigned to her.

         13.   Walker was hired by APS in November 2021 as an employee

relationship specialist. Her duties involved investigations of employee misconduct.

10-12 schools were assigned to Walker.

         14.   Walker and Price reported to Toni Sellers-Pitts, the Executive Director

of Employee Relations. While Sellers-Pitts functioned as Plaintiffs’ primary

supervisor, the authority to terminate Walker or Price was vested solely in the

Superintendent of APS.

         15.   In the spring of 2022, the employee relations department hired a male

specialist, Leverius Glass, who worked in close proximity to both Walker and

Price.

         16.   From the first weeks of his employment, Glass acted in a disruptive

and toxic manner that seemed to target his female colleagues: his behavior




                                                                                        4
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 5 of 21




included temperamental outbursts, bullying and intimidation toward coworkers,

and featured signs of instability and erratic conduct.

      17.    Both Walker and Price constantly observed, and were at times the

brunt of, threatening conduct from Glass.

      18.    During a mid-April 2022 joint virtual investigative interview Walker

and Glass conducted, Glass became argumentative with Walker to the point that

she had to disconnect him from the call. Glass reacted by confronting her in a tone

that was aggressive enough that she feared he was about to strike her.

      19.    Walker and Price each reported Glass’ behavior to Sellers-Pitts, the

head of their department, but Sellers-Pitts did nothing to intervene.

      20.    At one point, Sellers-Pitts told Walker that she would not discipline

Glass because she believed he was gay, and that APS might be subject to potential

liability for taking corrective action against an LGBT employee. Sellers-Pitts did

not explain why she believed APS’ anti-harassment policies did not apply with

equal force to all personnel.

      21.    Glass’ aggression affected both Walker and Price in acutely negative

ways. Walker, for example, has a history of suffering from anxiety, and began

having panic attacks in the aftermath of the mid-April 2022 incident where Glass

appeared to be on the verge of violence.


                                                                                      5
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 6 of 21




      22.    Walker sought counseling from the mental health wellness coordinator

in the HR department, Nizinga Benton, and a therapist in APS’ employee

assistance program, Carol Meltzer.

      23.    Melter told Walker that she believed Walker should seek legal counsel

to address the hostile environment she was experiencing. Walker’s condition

required her to take medical leave in late April 2022.

      24.    Price suffers periodic migraine headaches that are compounded by

stress. Her headaches increased in the late spring of 2022 due to the ongoing strain

of Glass’ repeated belligerence..

      25.    On June 9, 2022, Price filed a formal complaint with the HR

department regarding Glass’ threatening conduct and Sellers-Pitts’s failure to act to

protect female employees.

      26.    In late June 2022, Walker also filed a HR complaint about the toxic

conditions in the employee relations department and the demeaning atmosphere for

women in the department.

      27.    APS did not take any apparent steps to investigate either Walker’s or

Price’s complaints, ignoring APS’ protocols for promptly investigating complaints

of bullying or harassment in the workplace.




                                                                                     6
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 7 of 21




      28.    While APS did not address the complaints about Glass, he ended up

being fired in July 2022 for inciting an argument with two onsite security officers.

Retaliation by Seller-Pitts

      29.    During June and early July 2022, Sellers-Pitts was notified of Price’s

and Walker’s hostile environment complaints.

      30.    Sellers-Pitts had previously remarked in staff meetings that she felt

protected from employee complaints because she was a member of the same

sorority as Nicole Lawson, APS’ Chief HR Officer, and Superintendent Lisa

Herring.

      31.    Sellers-Pitts had also made other comments that Walker and Price

took as veiled threats that the staff needed to be mindful of taking any steps that

would reflect negatively on her or damage her relationship with the

Superintendent.

      32.    As the summer of 2022 progressed, Sellers-Pitts began to act in an

increasingly hostile manner toward Walker and Price, becoming snide and

dismissive of both women, often in front of their peers, and started regularly

finding fault with their work.

      33.    At one point in mid June 2022, within days of learning of Price’s HR

complaint, Sellers-Pitts encouraged an employee to report Price for not adequately

                                                                                       7
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 8 of 21




investigating a misconduct allegation that the employee had filed against a

coworker.

      34.    During the June and July 2022 time frame, Sellers-Pitts repeatedly

chastised Price verbally and in writing for being tardy in completing investigative

reports: Sellers-Pitts knew better, and fully understood that the culprit for any delay

was Sellers-Pitts’ slowness in working through a backlog of reports in the

department, all of which required her approval.

Additional internal complaints from Price and Walker: August 2022

      35.    In early August, 2022, Walker lodged a second complaint with the HR

department regarding Sellers-Pitts. Walker described a number of instances where

Sellers-Pitts had retaliated against her for the complaint two months earlier by

being verbally abusive and making unwarranted criticisms of her work, and

detailed a variety of other inappropriate or questionable actions by Sellers-Pitts.

      36.    One of Walker’s complaints involved Sellers-Pitts’ comments to

coworkers about her sex life, which included stories about sexual encounters with

multiple men, and her use of explicit language to describe her trysts.

      37.    Walker alleged that when she contracted a serious case of Covid-19 in

May 2022 and took sick leave, Sellers-Pitts had ordered her to complete




                                                                                      8
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 9 of 21




assignments remotely, even though Walker had reported she was experiencing

difficulty breathing.

      38.    Walker’s complaint also identified a number of substantive concerns

about Sellers-Pitts’ running of the department. It described an ongoing failure to

adequately protect the confidentiality of ADA accommodation and medical leave

requests: paperwork from medical providers was left in plain view of staffers who

had no role in the accommodation or leave approval process.

      39.    There were additional allegations in Walker’s complaint that under

Sellers-Pitts’ leadership, the department was chronically slow in processing ADA

requests, taking months to review applications when APS protocols require action

within days; and that the department routinely failed to process Title IX complaints

by employees or students or to promptly initiate investigations, despite APS’

policy that Title IX was a priority task.

      40.    On August 9, 2022, Price initiated her second HR complaint against

Sellers-Pitts. Like Walker, Price recounted examples of verbal abuse and retaliation

from Sellers-Pitts for the previous June complaint. Price also reported Sellers-Pitts’

delays in completing routine administrative tasks related to ADA and Title IX

enforcement within the department.




                                                                                     9
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 10 of 21




More retaliation from Sellers-Pitts

      Additional retaliation toward Price

      41.    Despite internal reports of retaliation, misconduct, and breaches of

APS policy by two of her team members, the school district did not place

Sellers-Pitts on administrative leave or limit her interactions with the sources of the

complaints. As a result, Sellers-Pitts, who was notified of the June and August

2022 complaints, remained in a position to engage in more retaliation toward

Walker and Price, and promptly did so.

      42.     In late July 2022, in an effort to return to pre-pandemic levels of

in-person engagement, Sellers-Pitts had announced a new policy that all employee

relations specialists would be required to make onsite visits to the schools assigned

to them.

      43.    Price became immediately concerned that mandatory visits to

crowded school settings would trigger a medical condition of hers that has been

diagnosed as chronic social anxiety. She submitted an ADA accommodation

request on or about August 11, 2022 seeking an exemption from the obligation to

make onsite visits.

      44.    Over the next two weeks, Price’s accommodation request was not

processed. When Price sought to move the process forward, a member of the


                                                                                    10
     Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 11 of 21




employee relations department’s leave management team, Lakea Fullwood, told

Price that Sellers-Pitts had instructed that the accommodations request be

“slow-walked” and that Seller-Pitts had directed Fullwood to resort to dilatory

tactics like seeking unnecessary supplemental documentation.

      45.    During the last week in August 2022, Price was warned by a source

within the department that paperwork had been created to terminate Price and was

awaiting approval from Superintendent Herring’s office.

      46.    To avoid being fired, Price submitted her resignation or about

September 2, 2022.

      47.    At Seller-Price’s direction, APS began the process of terminating

Price within two weeks of her request for an ADA accommodation, and within two

and a half weeks of her filing a formal complaint that Sellers-Pitts had engaged in

retaliation and failed to follow Title IX and ADA reporting protocols.

      Additional retaliation toward Walker

      48.    After Walker’s second complaint against Sellers-Pitts, Walker was

directed to meet in early August 2023 with Connie Brown, the executive director

of APS’ Office of Internal Compliance.

      49.    During the meeting, Walker disclosed to Brown that she had spiraled

into deep depression and feared that she was at an emotional breaking point.

                                                                                  11
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 12 of 21




      50.    Brown at one point during the meeting suggested to Walker that she

resign, a comment that Walker took as either an implicit threat or an implication

that APS did not take her concerns about the leadership of her department

seriously.

      51.    In late August 2022, a student whose complaint of sexual misconduct

by a teacher had been investigated by Walker posted a video on social media

describing in graphic detail the incidents at the center of the investigation.

      52.    On September 2, Walker overheard Sellers-Pitts in a verbal tirade

against her, exclaiming in reference to Walker, “f*** that b****” and describing

Walker as a “heifer.”

      53.    Walker also explicitly heard Sellers-Pitts devising a plan to use the

fallout from the video release to instigate Walker’s firing. Walker heard Sellers,

referring to Walker, say “that b**** is trying to complain about me, well I have her

ass in a snare.” Sellers-Pitts went on to discuss her intentions to report to APS

administrators that Walker failed to perform an adequate investigation of the

student’s claims, an assertion Sellers-Pitts knew was meritless, but would have

likely resulted in Walker’s termination by APS.

      54.    Walker, convinced that she had no other recourse, resigned later the

afternoon of September 2, 2022.


                                                                                     12
     Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 13 of 21




APS’ failure to take prompt remedial action against Sellers-Pitts

      55.    As of early August 2022, APS had actual knowledge of Walker’s and

Price’s reporting of incidents of retaliation and ongoing violations of APS policies

by the head of its employee relations department. Yet, in addition to failing to

follow APS’ normal routine of administrative leave, it remains unclear precisely

when APS initiated any formal investigation.

      56.    Based on reporting of open records requests by the Atlanta-Journal

Constitution, APS did not act to remove Sellers-Pitts from her position until a date

a few days before September 16, 2022, nearly six weeks after the August

complaints, and over three months after Plaintiffs’ first complaints in June 2022.

Https://www.ajc.com/education/atlanta-public-schools-official-resigns-amid-huma

n-resources-upheaval.

      57.    As the Atlanta Journal Constitution’s reporting made clear, Walker

and Price were hardly the only APS employees to lodge allegations against

Sellers-Pitts. In the words of Chief HR Officer Lawson’s mid-September 2022

memo to then-Superintendent Herring, Lawson had “received numerous

complaints from principals, staff, and employees within the employee relations

department regarding Toni Sellers-Pitts.”




                                                                                     13
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 14 of 21




      58.    Yet, despite “numerous” pieces of information that Sellers-Pitts was a

risk to APS, the district and the leadership of the HR department stood pat. As the

AJC’s reporting further reveals, Sellers-Pitts did not learn her job was in jeopardy

until mid-September 2022, and was never formally interviewed about the slew of

allegations against her.

      59.    APS’ delay in taking corrective action proximately damaged both

Walker and Price, exposing both Plaintiffs to retaliatory acts as described herein,

and the inevitable emotional distress that resulted. Had APS taken even the

standard remedial step of placing Sellers-Pitts on administrative leave in order to

investigate the allegations against her, both plaintiffs would not have been

subjected to the retaliatory conduct they endured that led to their resignations.

                              CAUSES OF ACTION

                                     COUNT I
                              Plaintiff Fonda Price
       (retaliatory mistreatment in violation of 42 U.S.C.A. § 2000e-3(a))


      60.    Plaintiff Price incorporates by reference paragraphs 1-59 of this

complaint as though set forth fully and separately herein.

      61.    Price engaged in protected activity by opposing acts or practices made

unlawful under Title VII, in that she made multiple internal complaints to APS of


                                                                                      14
     Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 15 of 21




conduct that constitutes gender discrimination or retaliation, including (1) a failure

to remedy a hostile work environment in the spring of 2022 that was at least partly

motivated by gender; (2) ongoing retaliatory conduct during the summer of 2022

that was motivated by her earlier reporting of sex-based discrimination; and (3) her

department’s failure to adequately resolve Title IX complaints that included

employee complaints.

      62.    Because of Price’s protected activity, APS, through Price’s direct

supervisor, the Executive Director of Employee Relations, engaged in conduct that

well might have dissuaded a reasonable employee from making or supporting a

charge of discrimination, including but not limited to initiating the process to

terminate Price in late August 2022.

      63.    As a result of APS’ retaliatory conduct, Price has suffered monetary

damages, including but not limited to back pay and front pay; loss of future

benefits; and noneconomic damages including emotional distress, humiliation,

embarrassment, and mental anguish.

                                     COUNT II
                                Plaintiff Fonda Price
                 (Retaliation in violation of 42 U.S.C.A. § 12203(a))




                                                                                   15
        Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 16 of 21




        64.   Plaintiff Price incorporates by reference paragraphs 1-59 of this

complaint as though set forth fully and separately herein.

        65.   Price engaged in protected activity under the ADA by making a

request for a reasonable accommodation, specifically her application to be excused

from making onsite visits to schools within her assigned jurisdiction due to her

diagnosis of a social anxiety disorder.

        66.   Price further engaged in protected activity under the ADA by making

an internal complaint that APS’ employee relations department was failing to

follow proper protocols regarding the timely processing of ADA accommodations

requests.

        67.   Because of Price’s protected activity, APS, through Price’s direct

supervisor, the Executive Director of Employee Relations, engaged in conduct that

well might have dissuaded a reasonable employee from making or supporting a

charge of discrimination, including but not limited to refusing to process Price’s

accommodation request, and initiating the process to terminate Price in late August

2022.

        68.   As a result of APS’ retaliatory conduct, Price has suffered monetary

damages, including but not limited to back pay and front pay; loss of future




                                                                                     16
     Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 17 of 21




benefits; and noneconomic damages including emotional distress, humiliation,

embarrassment, and mental anguish.

                                 COUNT III
                            Plaintiff Kristie Walker
       (retaliatory mistreatment in violation of 42 U.S.C.A. § 2000e-3(a))


      69.    Plaintiff Walker incorporates by reference paragraphs 1-59 of this

complaint as though set forth fully and separately herein.

      70.    Walker engaged in protected activity by opposing acts or practices

made unlawful under Title VII, in that she made multiple internal complaints to

APS of conduct that constitutes gender discrimination or retaliation, including (1) a

failure to remedy a hostile work environment in the spring of 2022 that was at least

partly motivated by gender; (2) ongoing retaliatory conduct during the summer or

2022 that was motivated by her earlier complaint of sex-based discrimination; and

(3) her department’s failure to adequately resolve Title IX complaints that included

employee complaints.

      71.    Because of Walker’s protected activity, APS, through Walker’s direct

supervisor, the Executive Director of Employee Relations, engaged in conduct that

well might have dissuaded a reasonable employee from making or supporting a

charge of discrimination, including but not limited to instigating a plan to terminate



                                                                                   17
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 18 of 21




Walker based on false and pretextual claims of failing to adequately perform her

duties.

      72.    As a result of APS’ retaliatory conduct, Walker has suffered monetary

damages, including but not limited to back pay and front pay; loss of future

benefits; and noneconomic damages including emotional distress, humiliation,

embarrassment, and mental anguish.

                                    COUNT IV
                              Plaintiff Kristie Walker
                 (Retaliation in violation of 42 U.S.C.A. § 12203(a))

      73.    Plaintiff Walker incorporates by reference paragraphs 1-59 of this

complaint as though set forth fully and separately herein.

      74.    Walker engaged in protected activity under the ADA by making an

internal complaint that APS’ employee relations department was failing to follow

proper protocols regarding the timely processing of ADA accommodations

requests.

      75.    Because of Walker’s protected activity, APS, through Walker’s direct

supervisor, the Executive Director of Employee Relations, engaged in conduct that

well might have dissuaded a reasonable employee from making or supporting a

charge of discrimination, including but not limited to instigating a plan to terminate



                                                                                   18
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 19 of 21




Walker based on false and pretextual claims of failing to adequately perform her

duties.

      76.    As a result of APS’ retaliatory conduct, Walker has suffered monetary

damages, including but not limited to back pay and front pay; loss of future

benefits; and noneconomic damages including emotional distress, humiliation,

embarrassment, and mental anguish.

                                     COUNT V
                   Plaintiffs Kristie Walker and Fonda Price
     (Retaliatory Hostile Environment in violation of Title VII and the ADA)

      77.    Plaintiffs incorporate by reference paragraphs 1-59 of this complaint

as though set forth fully and separately herein.

      78.    Plaintiffs engaged in protected activity under Title VII and the ADA

by reporting discriminatory and retaliatory conduct based on gender, as alleged

herein at paragraphs 61 and 70, and disability, as alleged herein, at paragraphs 66

and 74.

      79.    As a direct and proximate cause of their opposition to discrimination

and retaliation under Title VII and the ADA, Plaintiffs were subjected to

retaliatory conduct by the Executive Director of the employee relations

department, including but not limited to (1) verbally abusive treatment; (2)



                                                                                      19
      Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 20 of 21




unjustified criticisms of their job performance; (3) the initiation of plans to

terminate their employment.

      80.      The aforementioned retaliatory conduct, as described in paragraph 79,

taken in its totality would have dissuaded a reasonable employee from making or

supporting a charge of discrimination under Title VII and the ADA, and therefore

constitutes a retaliatory hostile work environment.

      81.      Despite having actual knowledge of the retaliatory hostile

environment Plaintiffs experienced, APS failed to take prompt remedial action, and

as a result is liable for the harassment Plaintiffs experienced.

      82.      As a result of the retaliatory hostile environment to which they were

subjected, Plaintiffs have each suffered monetary damages, including but not

limited to back pay and front pay; loss of future benefits; and noneconomic

damages including emotional distress, humiliation, embarrassment, and mental

anguish.

                               PRAYER FOR RELIEF

      Wherefore, based on the above stated claims, Plaintiffs demand a trial by

jury and that the following relief be granted:

            A. Back pay, front pay, and lost benefits.

            B. Compensatory damages to the extent allowed by law;


                                                                                   20
     Case 1:23-mi-99999-UNA Document 2844 Filed 09/04/23 Page 21 of 21




         C. Attorneys’ fees and costs of litigation.

         D. Pre-judgment and post-judgment interest at the highest lawful rate.

         E. Such other equitable and monetary relief as the court deems just and

            proper.

         F. A declaratory judgment that Defendant’s actions violated Plaintiff’s

            statutory and constitutional rights, and that Defendant shall refrain

            from future unlawful discriminatory and retaliatory conduct in its

            employment practices.

      Respectfully submitted, the 4th day of September, 2023.

                                       HKM Employment Attorneys LLP
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2
 Artur Davis will promptly file for admission pro hac vice as an attorney of record
in this action. Mr. Davis is licensed in the state of Alabama and the District of
Columbia.

                                                                                  21
